Case 1:22-cr-00142-RJJ ECF No.1, PagelD.1 Filed 10/17/22

UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF MICHIGAN

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FILED -GR

October 17, 2022 3:37 PM
CLERK OF COURT
U.S. DISTRICT COURT
WESTERN DISTRICT OF MICHIGAN

SOUTHERN DIVISION BYJMW SCANNED By: JW /Jo-17
UNITED STATES OF AMERICA,
1:22-cr-142
+ 4s Robert J. Jonk
Plaintiff U.S. District Judge
vs.
CLASS A MISDEMEANOR

MIKAELA HALL, INFORMATION

Defendant.

/

 

The United States Attorney charges:

COUNT 1

(Conspiracy to Introduce Misbranded Drugs Into Interstate Commerce)

Beginning in or about February 2020 and continuing until in or about

December 2020, in Muskegon County, in the Southern Division of the Western

District of Michigan and elsewhere, the defendant,

MIKAELA HALL,

knowingly and voluntarily combined, conspired, confederated, and agreed with

others, both known and unknown, to introduce misbranded prescription drugs into

interstate commerce contrary to law.

18 U.S.C. § 371

21 U.S.C. § 331(a)
21 U.S.C. § 353(b)(1)
21 U.S.C. § 333(a)(1)
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COUNTS 2-6
(Introduction of Misbranded Drugs Into Interstate Commerce)

On or about the following dates, in Muskegon County, in the Southern Division

of the Western District of Michigan, the defendant,

MIKAELA HALL,

introduced and delivered, and caused to be introduced and delivered, into interstate

commerce, the following misbranded prescription drugs, as defined in Title 21, United

States Code, Section 353(b)(1), in that they were dispensed without a written

prescription of a practitioner licensed by law to administer such drugs:

 

 

 

 

 

 

 

 

 

 

 

 

Count | Date Recipient |Misbranded | Misbranded Intended

Prescription | Prescription Destination
Drug — Trade | Drug — Product
Name Name

2 7/24/2020 | K.W. Cytotam Tamoxifen Citrate | Wilmington, NC

3 7/27/2020 | N.D. Arimimed Anastrozole Port Jefferson

Station, NY

4 9/29/2020 | K.S. Modvigil Modafinil Holly Springs, NC

5 10/16/2020 | C.P. Vilitra Vardenafil Atlanta, GA

6 10/16/2020 | J.B. Tamoxifen Tamoxifen Citrate | West Hollywood, CA

 

and aided, abetted, counseled, commanded, induced, and procured the same.

21 U.S.C. § 331(a)

21 U.S.C. § 353(b)(1)(B)
21 U.S.C. § 333(a)(1)
18 U.S.C. § 2

Date: October 17, 2022

MARK A. TOTTEN

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